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           EXHIBIT 3
           EXHIBIT
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 Kern Studios LLC
                                                                                  Lagotronics’  imagine, create, inspire
 1380 Port of New Orleans Place                                                    Lagotronics Philippines Inc.:
                                                                                   Warehouse no. 5
 New Orleans, LA 70130
                                                                                   Themebuilders compound
                                                                                   Sitio Qubal, Brgy. Sapafbutad
                                                                                   2009 Angekes City, Panpanga
 Attn. : Barry Kern / Caskey Miller                                                 Philippines
 Tel. : +1504-527-0395
                                                                                   Contact Details:
 Tel. : +1504-321-6054
                                                                                   carlo.gortjes@lghokdings.nl
 Tel. : +1504-442-1394                                                             sales@lagotronics.ph
                                                                                   jcb.lagotronics.oh @gmail.com
 Email: barry@kernstudios.com
                                                                                   jdm09.lagotronics.pbh@qmailcom
 Email:caskey@kernstudios.com                                                      applemiralles |.lagotronics:ph@gmailcom

                                                                                   Tel.: +63 917 176 2378 (PHL)
                                                                                   Mobile No. 0945-346-0692
                                                                                   www lagotronics.ph
                                                                                   Vat Number: 007-962-1 47-000 (PHL)




   Angeles City, May 20, 2020                    Your |ID:   Barry Kern             Project:KERN-UBR FLOATS
   Order No. 20200520APS01                        Our ID:    Carlo Gortjes


                           ACKNOWLEDGEMENT AND ACCEPTANCE OF ORDER

We are in receipt of your order as detailed below:


    ITEM NO.                QUOTE   NO.                      DESCRIPTION                                  AMOUNT

             ]             200331JDMO1_|     PONIES (A, B, C)                                               USD 87,300.00
             2             200424JDMO1     | GLORIA'S BALLOON                                               USD 76,300.00
             3             200424JDMO2     | KING JULIEN FLOAT                                              USD 62,200.00
             4             200424JDMO3_|     MASTER OX FLOAT                                                USD 39,100.00
             5             200424JDM04     | ONION COACH                                                    USD 51,100.00
             6             200424JDMOS     | MR. PING FLOAT                                                 USD 36,600.00
             7             200507JDMO1_|     YELLOW CART FLOAT                                              USD 80,400.00
             8             200514JDMO1     | LANTERN FLOAT                                                USD 204,500.00
             9             200514JDMO1_    | AFRO CIRCUS TENT                                              USD 152,000.00
                                                                               SUBTOTAL                   USD 789,500.00
                                               LESS: 5% DISCOUNT FROM CONTINGENCY                           USD 39,475.00
                                                                               SUBTOTAL                   USD 750,025.00
                                                                 LESS: EXTRA DISCOUNT                       USD 11,501.00
                                                                         TOTAL AMOUNT                     USD 738,524.00


PAYMENT           TERMS:

 First Payment:                       USD 250,000.00 down payment upon ordering, within 7 days from the
                                      date of invoice.
 Second Payment:                      USD 250,000.00 during the first big shipment of parts from Holland to PH
                                      which is 2-3 wks from now. Payment should be arrange within 7 days from
                                      the date of invoice.
 Succeeding Payments:                 USD 21,684.00 after hand over of each float, within 7 days from the date
                                      ofinvoice. Hand over refers to the completion of Facility Acceptance Test
                                      in PH.




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                                                                                            Lagotronics’
                                                                                                       imagine, create, inspire



Declaration:

By signing below, we/| hereby confim that all information given above is true and correct. We/I| agree
to observe and to be bound by the terms and conditions of this Agreement.




             Carlo Gértjes
Lagotronics, Phils., Inc. /President




Certification:

| hereby certify this claimis comect
                                  and just in all respects and that paymentor credithas not beenreceived:




Judith Buela
Financial Department
Lagotronics Philipines Incorporated

For any questionsregarding this invoice contact Carlo Gérljes +316531 22579 or Judith Buela +6345 624 7098

BANK DETAILS:




REDACTION
REDACTION
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